 

 

Case 3:13-cV-0294O-I\/|E|\/| Document 93 Filed 09/14/18 Page 1 of 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

 

 

 

UNITED STATES OF AMERICA, ex rel.
MICHAEL S. LORD, Civil Action No.: 3:13-CV-2940

Plaintijj{s/Relator,

JUDGE MANNION
- V. _

NAPA MANAGEMENT SERVICES ELECTRONICALLY FILED
CORPORATION, NORTH AMERICAN
PARTNERS IN ANESTHESIA
(PENNSYLVANIA), LLC, and POCONO
MEDICAL CENTER,

Defendants.

ORDER OF COURT

 

r*' \
AND N()W, this /q/ day of M(: , 2018, upon

consideration of the Motion to Stay Proceedings for an Additional 30 Days filed by
Gerald Lawrence, Esq.; and Lowey Dannenberg, P.C., it is HEREBY
ORDERED, ADJUDGED, AND DECREED that said Motion is GRANTED.
The court will stay all proceedings thirty (30) days until October 15, 2018, in order
for Relator to engage new counsel. Present counsel may withdraw after new

counsel has entered their appearance

 
 

BY THE CoURT; M[

Malacl{y E. ‘l\//la lon
United States Di ict Court Judge

